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                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY


  In Re Novo Nordisk Securities                Master File No.: 3:17-cv-209
  Litigation                                          (BRM) (LHG)

                                              Document electronically filed


                                                 STIPULATION AND
                                                 PROPOSED ORDER
                                              REGARDING ADDITIONAL
                                                   MEASURES OF
                                              PROTECTION APPLICABLE
                                                 TO OPTUMRX, INC.




       Lead Plaintiffs Central States, Southeast and Southwest Areas Pension

 Fund, Lehigh County Employees’ Retirement System, Oklahoma Firefighters

 Pension and Retirement System, Boston Retirement System, and Employees’

 Pension Plan of the City of Clearwater (“Plaintiffs”), Defendants Novo Nordisk

 A/S, Lars Rebien Sørensen, Jesper Brandgaard, and Jakob Riis (“Defendants”),

 and non-party OptumRx, Inc. (“OptumRx”), each by and through their counsel

 (collectively, the “Parties”), would show:

       WHEREAS, on January 29, 2019, the Court entered the Discovery

 Confidentiality Order (ECF No. 128) (“Confidentiality Order”) to govern the




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 production and use of Confidential and Highly Confidential Discovery Material

 as defined in that Order;

       WHEREAS, Plaintiff has served a Subpoena on OptumRx requesting the

 production of, among other documents and information, pharmacy benefit

 service agreements; manufacturer agreements; and minutes and other materials

 from various OptumRx committees (the “OptumRx Committee Materials”);

       WHEREAS, each manufacturer agreement requires OptumRx to

 maintain the confidentiality of these agreements and to provide notice to and

 obtain consent from the manufacturer when OptumRx is requested to produce

 a copy of the manufacturer agreement in connection with a legal proceeding;

       WHEREAS, OptumRx has objected to the production of Highly

 Confidential information requested in the Subpoena, including the OptumRx

 Committee Materials and documents reflecting the terms of the manufacturer

 agreements, without additional protections designed to prevent competitive

 harm to OptumRx that would occur in the event OptumRx’s competitors and/or

 customers were to gain access to the terms (including pricing) contained in the

 manufacturer agreements and the OptumRx Committee Materials;

       The Parties hereby stipulate and agree as follows:

       1.     Upon production to Plaintiffs, OptumRx will designate

 manufacturer agreements, OptumRx Committee Materials, and other


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 confidential,     proprietary,    or   otherwise      sensitive     information   as

 “CONFIDENTIAL - SUBJECT TO DISCOVERY CONFIDENTIALITY

 ORDER” or “HIGHLY CONFIDENTIAL - SUBJECT TO DISCOVERY

 CONFIDENTIALITY ORDER” under the terms of the Confidentiality Order

 previously entered on January 29, 2019 (ECF No. 128).

       2.        Notwithstanding    paragraphs      8(a)-(c)   and    8(e)   of    the

 Confidentiality Order, neither Plaintiffs nor Defendants may disclose

 documents or information designated by OptumRx as Highly Confidential, to

 any pharmacy benefit manager, prescription drug manufacturer, or pharmacy,

 or any current employee or agent of any such entity (excluding outside counsel

 for the Plaintiffs and Defendants) or any trade/professional association known

 to represent any such entity, except to the extent that such person separately

 meets the criteria of paragraph 8(f) of the Confidentiality Order, as modified in

 paragraph 3 herein. Paragraph 8(f) of the Confidentiality Order is modified to

 permit a person to be shown Discovery Material designated by OptumRx as

 Highly Confidential only if (i) it appears from the face of the document that

 s/he (or her/his employer or anyone currently or formerly employed by her/his

 employer) authored or received a copy of the materials in the normal course of

 her/his employment, (ii) the disclosing party has a good faith and reasonable

 belief that s/he has knowledge of the facts contained within the document, or


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 (iii) s/he is or was employed by OptumRx and the disclosing party has a good

 faith and reasonable belief that s/he was provided or had access to the materials

 in the performance of their employment duties. The aforementioned restrictions

 on sharing documents or information designated by OptumRx as Highly

 Confidential shall not preclude or limit Novo’s ability to share internally (with

 in-house counsel or otherwise), any document where it is reasonably apparent

 from the face of the document that it was authored or received by any current

 or former Novo employee in the normal course of her/his employment by Novo.

 For avoidance of doubt, before disclosing to any witness an internal OptumRx

 document designated as Highly Confidential, the disclosing party shall

 establish, through questioning on the record, that the witness has knowledge of

 the facts contained within the document.

       3.     Before sharing any documents or information designated as

 Highly Confidential by OptumRx pursuant to the provisions of Paragraphs 8(e),

 (f), or (i) of the Protective Order, as modified herein, Plaintiffs and Defendants

 will require the receiving person to execute a non-disclosure agreement in the

 form attached as Exhibit A to the Confidentiality Order; if a witness in

 deposition refuses to sign Exhibit A, the deposition shall continue once

 deposing counsel provides the Confidentiality Order and this Supplemental

 Confidentiality Order to the witness and explains to the witness on the record


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 that (i) the witness is going to be shown Highly Confidential Information during

 the deposition, (ii) the witness is not to disclose to others such Highly

 Confidential Information or to use it for any commercial or other purpose

 outside of the deposition, and (iii) instructs the witness that the witness is bound

 by the terms of the Confidentiality Order and this Stipulation and will be subject

 to the Court’s jurisdiction for any violation of its terms;

       4.     Moreover, before sharing any documents or information

 designated as Highly Confidential by OptumRx to (1) any person covered under

 Paragraph 8(e) or Paragraph 8(i) of the Protective Order, (2) any person covered

 under subsections (ii) and (iii) of Paragraph 8(f) of the Protective Order as

 modified herein, or (3) any third party covered under subsection (i) of Paragraph

 8(f) of the Protective Order as modified herein, Plaintiffs and Defendants will

 redact (i) the names of companies or employees, signature blocks, Bates

 numbers, other identifiers, drug names, or any other information that would

 identify any manufacturer; and (ii) the names of companies or employees,

 signature blocks, Bates numbers, other identifiers, customers, drug names,

 formularies, committees, business units, or any other information from which a

 person knowledgeable about PBM business practices could reasonably be

 expected to identify OptumRx or its affiliates. With regard to redacting

 manufacturer names or other information that would identify a manufacturer


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 (but not OptumRx), and for the avoidance of doubt, neither Plaintiffs nor

 Defendants shall be required to make the redactions contemplated in the

 previous sentence if such redactions would impair their ability to prove or

 disprove any claim, issue, element, or defense in this Action.

       5.     In accordance with the Confidentiality Order, Plaintiffs and

 Defendants agree to take appropriate steps to file any information designated

 by OptumRx as Highly Confidential under seal and to take necessary steps to

 keep such documents or information produced pursuant to the Subpoena sealed.

 For avoidance of doubt, Plaintiffs and Defendants agree that to the extent any

 information produced by OptumRx and designated as Highly Confidential is

 referenced, described, or contained in any materials filed with the Court or

 utilized in connection with judicial decision-making 1) such information must

 be filed temporarily under seal pursuant to Local Civil Rule 5.3(c)(4), and 2)

 the submitting party must concurrently provide written notice to counsel for

 OptumRx to enable OptumRx to timely make a motion to seal or otherwise

 restrict access under Local Civil Rule 5.3.

       6.     This Order shall have no effect on documents and information not

 produced by OptumRx.




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       7.     The Parties further agree that entry of this Order shall not limit

 their ability to seek further modifications in the future, either via stipulation or

 by application upon a showing of good cause.

 IT IS SO ORDERED.



 DATED: May 13, 2020

                                                   ___________________________
                                                   Hon. Lois H. Goodman, U.S.M.J.



  The terms and form of this Stipulation and Proposed Order Regarding Additional
  Measures of Protection Applicable to OptumRx, Inc. are hereby consented to:

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